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 5   Attorneys for Plaintiff
     CARMEN JOHN PERRI
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 7
                          UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
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         CARMEN JOHN PERRI, an            Case No.: 2:20-cv-09907-DSF-E
11       individual,
12                                        Hon. Dale S. Fischer
         Plaintiff,
13                                        NOTICE OF VOLUNTARY
14       v.                               DISMISSAL WITH PREJUDICE
                                          PURSUANT TO FEDERAL RULE OF
15       MAMUSHI, INC., a                 CIVIL PROCEDURE 41(a)(1)(A)(i)
16       California corporation;
         FAREMO ASSOCIATES                Complaint Filed: October 28, 2020
17       LLC, a California limited        Trial Date: None
18       liability company; FARIBA
         ELIASNIK, individually and
19       as trustee of THE FARIBA
20       ELIASNIK 2002 TRUST;
         and DOES 1-10, inclusive,
21
22       Defendants.

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                      NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 2:20-cv-09907-DSF-E Document 17 Filed 12/17/20 Page 2 of 2 Page ID #:52

 1         TO THE COURT AND ALL PARTIES:
 2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
 3   Plaintiff Carmen John Perri (“Plaintiff”) requests that this Court enter a dismissal
 4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
 5   Each party shall bear his or its own costs and attorneys’ expenses.
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 7                                          Respectfully submitted,
 8
 9    DATED : December 17, 2020             MANNING LAW, APC

10                                          By: /s/ Joseph R. Manning, Jr.
                                              Joseph R. Manning, Jr.
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                                              Attorney for Plaintiff
12                                            Carmen John Perri
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
